Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 1 of 38 Pageid#: 1266




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                               BIG STONE GAP DIVISION

  THE CLINCH COALITION, et al.,              )
                                             )
  Plaintiffs,                                )
                                             )
  v.                                         )
                                             )   Case No. 2:21-cv-0003-JPJ-PMS
  UNITED STATES FOREST SERVICE, et al.,      )
                                             )
  Federal Defendants,                        )   PLAINTIFFS’ BRIEF IN SUPPORT OF
                                             )   MOTION TO COMPEL COMPLETION
  and                                        )   OF THE ADMINISTRATIVE RECORD
                                             )   AND STRIKE NONRECORD
  AMERICAN LOGGERS COUNCIL, et al.           )   MATERIAL
                                             )
  Intervenor Defendants.                     )
                                             )

   PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION TO COMPEL COMPLETION OF
     THE ADMINISTRATIVE RECORD AND STRIKE NONRECORD MATERIAL
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 2 of 38 Pageid#: 1267




                                                   TABLE OF CONTENTS

  I.     Background ......................................................................................................................... 1

         A.          Nature of the Case ................................................................................................... 1

         B.          Procedural History .................................................................................................. 3

         C.          Applicable Legal Standards .................................................................................... 8

                1.        The Administrative Record must be broad and inclusive. ................................ 8

                2.        The deliberative process privilege is qualified. .............................................. 10

                3.        The Court has the authority to compel completion of the record. .................. 16

                4.        Post hoc, post-decisional documents are not part of the record. ..................... 17

  II.    Argument .......................................................................................................................... 18

         A.          The Forest Service excluded documents relied on as the basis of its decision,

                     confirming the AR is incomplete. ......................................................................... 18

         B.          Documentation of input from key agency experts and CEQ must be included in

                     the record. ............................................................................................................. 23

         C.          The agency must produce a privilege log. ............................................................ 25

         D.          Post hoc, post-decisional documents should be struck from the AR .................... 29

  III.   Conclusion ........................................................................................................................ 29




                                                                      ii
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 3 of 38 Pageid#: 1268




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

  Cases

  Amfac Resorts, L.L.C. v. U.S. Dep’t of Interior,
     143 F. Supp. 2d 7 (D.D.C. 2001) ...............................................................................................9

  Appalachian Power Co. v. EPA,
     477 F.2d 495 (4th Cir.1973), ...............................................................................................9, 23

  Bar MK Ranches v. Yuetter,
     994 F.2d 735 (10th Cir. 1993) .......................................................................................9, 12, 24

  Batalla Vidal v. Duke,
     No. 16CV4756NGGJO, 2017 WL 4737280 (E.D.N.Y. Oct. 19, 2017) ..................................14

  Brennan Ctr. for Justice at N.Y. Univ. Sch. of L. v. U.S. Dep’t of Justice,
     697 F.3d 184 (2d Cir. 2012).....................................................................................................13

  Carter v. U.S. Dep’t of Commerce,
     307 F.3d 1084 (9th Cir. 2002) .................................................................................................10

  Church of Scientology Int’l v. U.S. Dep’t of Justice,
     30 F.3d 224 (1st Cir. 1994) ......................................................................................................11

  Citizens to Pres. Overton Park, Inc. v. Volpe,
      401 U.S. 402 (1971) ...................................................................................................................8

  City of Virginia Beach v. U.S. Dep’t of Commerce,
      995 F.2d 1247 (4th Cir. 1993) .................................................................................................11

  Ctr. for Biological Diversity v. Bernhardt,
      No. CV 19-109-M-DLC, 2020 WL 1130365 (D. Mont. Mar. 9, 2020) ..................................25

  Ctr. for Food Safety v. Vilsack,
      No. 15-cv-01590, 2017 WL 1709318 (N.D. Cal. May 3, 2017) ........................................14, 25

  Ctr. for Native Ecosystems v. Salazar,
      711 F. Supp. 2d 1267 (D. Colo. 2010) .....................................................................................14

  Dairyland Power Co-op. v. United States,
     77 Fed. Cl. 330 (2007) .............................................................................................................13

  Defs. of Wildlife v U.S. Dep’t of Interior,
     931 F.3d 339 (4th Cir. 2019) ...................................................................................................12
                                                                      iii
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 4 of 38 Pageid#: 1269




  Dep’t of Commerce v. New York,
     139 S. Ct. 2551 (2019) .............................................................................................................12

  Dist. Hosp. Partners v. Sebelius,
     971 F. Supp. 2d 15 (D.D.C. 2013) .................................................................................9, 14, 24

  Dopico v. Goldschmidt,
     687 F.2d 644 (2d Cir. 1982).....................................................................................................16

  Earth Island Inst. v. Hogarth,
     484 F.3d 1123 (9th Cir. 2007) .................................................................................................12

  Envtl. Def. Fund, Inc. v. Costle,
     657 F.2d 275 (D.C. Cir. 1981) .................................................................................................17

  EPA v. Mink,
    410 U.S. 73 (1973) ...................................................................................................................10

  Exxon Mobil Corp. v. Mnuchin,
     No. 3:17-CV-1930-B, 2018 WL 4103724 (N.D. Tex. Aug. 29, 2018)....................................14

  Fla. Power & Light Co. v. Lorion,
     470 U.S. 729 (1985) .................................................................................................................17

  Friends of the Clearwater v. Higgins,
      No. 2:20-CV-00243-BLW, 2021 WL 827015 (D. Idaho Mar. 4, 2021)..................................11

  FTC v. Warner Commc’ns Inc.,
    742 F.2d 1156 (9th Cir. 1984) .................................................................................................13

  Goffney v. Becerra,
     995 F.3d 737 (9th Cir. 2021) ...................................................................................................18

  Greenpeace v. Nat’l Marine Fisheries Serv.,
     No. C98-492Z, 2000 WL 343906 (W.D. Wash. Feb. 24, 2000)..............................................14

  Heartwood, Inc. v. U.S. Forest Serv.,
     73 F. Supp. 2d 962 (S.D. Ill. 1999) ..........................................................................................24

  Hugler v. Bat Masonry Co.,
     No. 6:15-CV-28, 2017 WL 1207847 (W.D. Va. Mar. 31, 2017) ............................................11

  Hugler v. Bat Masonry Co.,
     No. 6:15-CV-28, 2017 WL 722069 (W.D. Va. Feb. 22, 2017) ...................................10, 11, 16

  Indigenous Envtl. Network v. U.S. Dep’t of State,
      No. CV-17-29-GF-BMM, 2018 WL 1796217 (D. Mont. Apr. 16, 2018) ...............................14



                                                                     iv
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 5 of 38 Pageid#: 1270




  Inst. for Fisheries Res. v. Burwell,
      No. 16-CV-01574-VC, 2017 WL 89003 (N.D. Cal. Jan. 10, 2017) ..................................12, 28

  Kent Cty., Del. Levy Ct. v. EPA,
     963 F.2d 391 (D.C. Cir. 1992) .................................................................................................12

  Kisor v. Wilkie,
     139 S. Ct. 2400 (2019) .............................................................................................................17

  Kowack v. U.S. Forest Serv.,
    766 F.3d 1130 (9th Cir. 2014) .................................................................................................11

  Luminant Generation Co. v. EPA,
     675 F.3d 917 (5th Cir. 2012) ...................................................................................................17

  Miami Nation of Indians of Ind. v. Babbitt,
     979 F. Supp. 771 (N.D. Ind. 1996) ..........................................................................................14

  Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co.,
     463 U.S. 29 (1983) ...................................................................................................................10

  Murray Energy Corp. v. McCarthy,
    No. 5:14-CV-39, 2015 WL 7017009 (N.D. W. Va. Nov. 12, 2015) .......................................14

  Nat. Res. Def. Council, Inc. v. Train,
     519 F.2d 287 (D.C. Cir. 1975) .................................................................................................22

  Nat’l Council of La Raza v. Dep’t of Justice,
     411 F.3d 350 (2d Cir. 2005).....................................................................................................13

  Nat’l Courier Ass’n v. Bd. of Governors of Fed. Rsrv. Sys.,
     516 F.2d 1229 (D.C. Cir. 1975) ...............................................................................................13

  Native Vill. of Point Hope v. Jewell,
     740 F.3d 489 (9th Cir. 2014) ...................................................................................................12

  NLRB v. Sears, Roebuck & Co.,
    421 U.S. 132 (1975) ...........................................................................................................13, 24

  Nw. Envtl. Advocates v. EPA,
     No. 05-1876-HA, 2008 WL 111054 (D. Or. Jan. 7, 2008) ......................................................14

  Oceana, Inc. v. Ross,
     290 F. Supp. 3d 73 (D.D.C. 2018) .................................................................................9, 19, 27

  Oceana, Inc. v. Ross,
     920 F.3d 855 (D.C. Cir. 2019) .....................................................................................16, 25, 27



                                                                      v
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 6 of 38 Pageid#: 1271




  Ohio Valley Envtl. Coal. v. Hurst,
     604 F. Supp. 2d 860 (S.D. W. Va. 2009) .................................................................................18

  Ohio Valley Envtl. Coal. v. Whitman,
     No. CIV.A. 3:02-0059, 2003 WL 43377 (S.D. W. Va. Jan. 6, 2003)......................................12

  Outdoor Amusement Bus. Ass'n, Inc. v. Dep't of Homeland Sec.,
     No. CV ELH-16-1015, 2017 WL 3189446 (D. Md. July 27, 2017) ........................................16

  Pitman v. U.S. Citizenship & Immigration Servs.,
     No. 2:17-CV-00166-CW-EJF, 2018 WL 3232355 (D. Utah July 2, 2018) .............................14

  Portland Audubon Soc. v. Endangered Species Comm.,
     984 F.2d 1534 (9th Cir.1993) ........................................................................................8, 10, 16

  Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Sec.,
     No. C 17-05211 WHA, 2018 WL 1210551 (N.D. Cal. Mar. 8, 2018) ....................................26

  S.C. Coastal Conservation League, 431 F. Supp. 3d 719 (D.S.C. 2020) ................................15, 25

  S. Envtl. L. Ctr. v. Council on Envtl. Quality,
      507 F. Supp. 3d 694 (W.D. Va. 2020) .....................................................................................28

  S. Envtl. L. Ctr. v. Mulvaney,
      No. 3:18CV00037, 2019 WL 4674497 (W.D. Va. Sept. 25, 2019).........................................13

  Sanitary Bd. of Charleston v. Wheeler,
     918 F.3d 324 (4th Cir. 2019) ...................................................................................................16

  In re Sealed Case,
      121 F.3d 729 (D.C. Cir. 1997) .....................................................................................10, 11, 13

  Securities & Exchange Comm’n v. Chenery Corp.,
     332 U.S. 194 (1947) .................................................................................................................17

  Tafas v. Dudas,
     530 F. Supp. 2d 786 (E.D. Va. 2008) ............................................................................9, 17, 27

  Thompson v. U.S. Dep’t of Labor,
     885 F.2d 551 (9th Cir. 1989) ...............................................................................................9, 29

  In re U.S. Dep’t of Def. & U.S. EPA Final Rule,
      No. 15-3751, 2016 WL 5845712 (6th Cir. Oct. 4, 2016) ........................................................16

  U.S. Fish & Wildlife Serv. v. Sierra Club, Inc.,
     141 S. Ct. 777 (2021) ...................................................................................................25, 26, 27

  In re United States,
      875 F.3d 1200 (9th Cir) ...........................................................................................................15
                                                                     vi
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 7 of 38 Pageid#: 1272




  W&T Offshore, Inc. v. Jewell,
    No. 2:14-CV-02449, 2016 WL 8260549 (W.D. La. Feb. 23, 2016)........................................14

  Walter O. Boswell Mem’l Hosp. v. Heckler,
     749 F.2d 788 (D.C. Cir. 1984) ...................................................................................................9

  WEG v. Salazar,
    880 F. Supp. 2d 77 (D.D.C. 2012) ...........................................................................................17

  Statutes

  5 U.S.C. § 706 ......................................................................................................................8, 17, 26

  Pub. L. No. 93-502, 88 Stat. 1561 (1974) ......................................................................................10

  Regulations

  36 C.F.R. § 220.5(e)(3), (24), and (26) ............................................................................................3

  36 C.F.R. § 251.50 (2004) ...............................................................................................................3

  40 C.F.R. § 1506.6(b)(2). ...............................................................................................................17

  40 C.F.R. § 1507.3(b)(2) ............................................................................................................5, 29




                                                                       vii
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 8 of 38 Pageid#: 1273




          Pursuant to the Court’s Scheduling Order issued on May 14, 2021, Plaintiffs

  (collectively, “Conservation Groups”) hereby challenge the sufficiency of the administrative

  record (“AR”) lodged by Defendant U.S. Forest Service.

          When compiling the AR, the Forest Service failed to include all documents it considered

  directly or indirectly, as required by law. The agency also improperly included post-decisional

  explanations prepared in defense of the decision after it was made, contrary to law. The record

  thus includes both more and less information than was before the agency when it made its

  decision. Because Conservation Groups’ claims are reviewed on the administrative record

  pursuant to the Administrative Procedure Act (“APA”), the Forest Service’s incomplete

  administrative record impedes the Court’s meaningful review.

          Conservation Groups therefore respectfully move the Court for an order (1) compelling

  Defendant U.S. Forest Service to complete the AR with materials specifically described herein,

  (2) requiring a privilege log for “deliberative” and other privileged materials withheld from the

  AR, and (3) striking post hoc rationales from the AR.

     I.      Background

          A. Nature of the Case

          In November 2020, the Forest Service ignored relevant and well-supported public input

  and pressed forward with a rule finalizing new categorical exclusions (“CEs”) from the National

  Environmental Policy Act (“NEPA”), allowing the agency to dodge inconvenient environmental

  risks and public concerns in the development of future projects.

          NEPA requires agencies to take a hard look at the effects of their actions and to involve

  the public in their decision-making. These objectives are fulfilled through preparation of

  Environmental Assessments or Environmental Impact Statements. Conservation Groups have for



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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 9 of 38 Pageid#: 1274




  decades relied on NEPA’s procedural safeguards to learn about Forest Service proposed actions,

  alert the agency to environmental harms, and suggest less harmful alternatives. These safeguards

  have been remarkably effective, resulting in the protection of thousands of acres. In the

  ecologically complex Southern Appalachian National Forests, in particular, NEPA analysis and

  public input has saved old-growth forests from logging, unroaded areas from road construction,

  and trout streams from sedimentation, among many other protections.

         Despite this track record, the Forest Service stripped away NEPA’s procedural safeguards

  for a host of harmful projects through the promulgation of new CEs. Because CEs may only be

  used for actions which categorically lack significant impacts, CEs can be used to authorize

  projects with minimal public involvement and environmental analysis. To promulgate its new

  CEs, the agency ignored information submitted by Conservation Groups showing that the

  existing NEPA process was responsible for reducing environmental impacts below the threshold

  of “significance,” especially in the Southern Appalachians, and that without that process the

  Forest Service could not guarantee the same for future projects. The Forest Service also cut

  procedural corners, declining to give the public any opportunity to comment on new additions to

  its proposed rule or the effects of the Council on Environmental Quality’s (“CEQ’s”) related

  rulemaking, and failing to assess the rule’s inevitable and significant environmental impacts.

         Now the Forest Service has compiled an AR that attempts to hide the serious defects in

  its rulemaking process and substantive flaws in the final product. Where the AR excludes

  materials that were before the agency, it obscures information that cuts against the decision and

  contradicts the rationale. Where the AR includes post-decisional materials, it offers novel

  rationales to defend the rule against legal challenge. The Forest Service should not be permitted




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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 10 of 38 Pageid#: 1275




  to offer an incomplete, inaccurate, and self-serving record that would limit and misdirect the

  Court’s review.

           B. Procedural History

           In June 2019, the Forest Service proposed to categorically exclude from NEPA a laundry

  list of actions that had previously been subject to environmental analysis, informed public input,

  and consideration of alternatives under NEPA. AR 030806–09. Among others, three of these

  new CEs created loopholes for commercial logging projects, road construction, and permits for

  private “special uses,” 1 which cover everything from weddings and mountain bike races to

  natural gas pipeline rights-of-way, construction of dams, and wind farms. Id. (proposed 36

  C.F.R. § 220.5(e)(3), (24), and (26)). The rule’s stated purpose was to “increase the pace and

  scale of forest and grassland management operations on the ground” by “reduc[ing] cost and

  time spent on environmental analysis.” AR 030802.

           At the time the Forest Service’s rule was proposed, a CE was defined as a category of

  actions that did not have “individually or cumulatively” significant impacts. NEPA_00000186.

  Attempting to clear that bar, the Forest Service relied heavily on analysis of “previously

  implemented” actions. AR 030611, 030624, 030665. The agency looked only at actions for

  which it had made a predictive “finding of no significant impact” (“FONSI”). AR 091519,

  091539, 091529. A small subset of its sample of projects with FONSIs was also the basis for

  questionnaires sent by the Forest Service to regional officers with questions about project

  implementation. For example, in substantiating its proposed logging CE (CE 25), the Forest

  Service identified 718 projects completed with a FONSI, selected a random sample of 68 of

  those projects to focus its analysis, and obtained questionnaire responses for 19 of those


  1
      36 C.F.R. § 251.50 (2004) (defining “special uses”).

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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 11 of 38 Pageid#: 1276




  projects—roughly 0.03% of the 718 projects. AR 091529; AR 091612–13. As discussed more

  below, the AR includes questionnaire responses for only two of those 19 projects. Based on this

  miniscule sample, the Forest Service concluded that future projects at similar scales would have

  no significant impacts.

         Conservation Groups submitted detailed comments on the proposed rule, AR 087041–

  259, 086491–800, 2 with a thorough analysis of the Forest Service’s sample of past projects, AR

  86711–36. As relevant to this motion, those comments explained why the Forest Service’s

  reliance on the sample of past actions and questionnaire responses was arbitrary and irrational.

  Conservation Groups showed that the proposed CEs were overbroad because they did not

  incorporate limiting conditions (known as “mitigation measures”) essential to justify previous

  FONSIs. AR 086573–74. Conservation Groups also pointed out that the sample set did not

  include data from the ecologically complex Southern Appalachians, where virtually all logging

  projects are smaller than the proposed threshold but nevertheless require analysis and mitigation

  to avoid significant impacts. AR 086654–55, 086636–49, 086658–61.




  2
    The body of Conservation Groups’ proposed rule comments is found both at AR 087041 to
  087259 and 086491 to 086710. Appendices to the comments are found at AR 086711 to 086800.
  Two other categories of information submitted by Plaintiffs—attachments and cited materials—
  do not appear anywhere in the AR, but Conservation Groups do not seek relief with respect to
  either category in this motion. We raise the issues here only to preserve them. See ECF No. 34 at
  ¶ 8. First, Conservation Groups provided a number of materials as attachments (in addition to the
  appendices, which are in the AR). Based on communications with opposing counsel, we believe
  that these materials were excluded inadvertently and will be added to the AR by agreement.
  Second, Conservation Groups cited other readily accessible materials in footnotes, often with
  hyperlinks. Defendants have communicated that while they believe materials cited by the Forest
  Service are “incorporated by reference” into the AR, the same is not true for Conservation
  Groups’ citations. Evans Decl., Exhibit 1. Conservation Groups believe that all materials cited in
  comments, including linked materials, should similarly be part of the record. However, the Court
  may not have occasion to reach the question unless Conservation Groups rely on a particular
  document cited in their comments and Defendants do not stipulate to its status as part of the AR.

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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 12 of 38 Pageid#: 1277




         Additionally, Conservation Groups demonstrated that the Forest Service did not have

  adequate monitoring data to validate its findings that past projects did not in fact cause

  significant impacts, individually or cumulatively. AR 086576–80, 086590–91, 086610–11,

  086650–52. While the agency relies on its questionnaires about the effects of a fraction of

  projects, the responses to many of those questionnaires were not and still have not been

  disclosed, as discussed below.

         After the Forest Service closed the comment period for its proposed rule, Defendant CEQ

  announced a separate proposed rule overhauling the NEPA regulations applicable to all agencies,

  NEPA_00003197, which was finalized in July 2020, NEPA_00000001. That rule lowered the

  bar for categorical exclusions. Under the new definition, a CE is a category of actions that

  “normally” does not have significant impacts. NEPA_00000186. The Forest Service consulted

  with CEQ regarding the effect of CEQ’s changes and reshaped its rulemaking in response to

  CEQ’s feedback. AR 091550, 091769, 093267.

         The Forest Service finalized its own rule in late 2020. On November 10, 2020, CEQ

  informed the Forest Service of its position that the final rule was in conformity with CEQ’s

  revised NEPA regulations, and thanked the Forest Service for its “responsiveness to [CEQ’s]

  comments and recommendations.” AR 091549–50. The following morning, the Office of

  Management and Budget gave the rule final clearance, authorizing the Forest Service to “proceed

  with publication.” AR 091551.

         That same afternoon, counsel for Conservation Groups sent a letter to the Forest Service

  noting that the agency had not yet offered the public an opportunity to review its rule for

  conformity with CEQ’s new regulations and that the Forest Service was accordingly required to

  re-notice the rule for further comment under 40 C.F.R. § 1507.3(b)(2). AR 091555–58. The letter



                                                    5
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 13 of 38 Pageid#: 1278




  explained that public conformity review, in addition to being unambiguously required by law,

  was important to allow public feedback on whether changes to the Forest Service rule were

  consistent with the overhauled CEQ rule and, further, whether the Forest Service rule CEs were

  so overbroad that they “would stretch the CEQ rule beyond any reasonable interpretation of

  [NEPA].” AR 091557.

         The Forest Service did not pause its process or make any further changes to its already-

  finalized rule, and instead sent the rule to queue for publication at the Office of the Federal

  Register. On November 18, 2020, a customary pre-publication copy of the final rule, along with

  some supporting documents, was made available in a public reading room. E.g., AR 091700. The

  Federal Register published the rule the following day. AR 091768.

         The final rule was more limited in scope than the proposed rule, but it retained CEs for up

  to 2,800 acres of logging (CE 25), road construction (CE 24), and special use permits (CE 3). AR

  091779–80. The CE for special use permits did not change between the proposed and final rule,

  but the Forest Service adjusted the size of the logging and road construction CEs to correct for

  mathematical and statistical mistakes that Conservation Groups pointed out in their comments.

  See AR 091774, 091776. In addition, the Forest Service added two vaguely defined requirements

  to the logging CE—that the “primary purpose” of the project be “restoration,” and that the

  process somehow involve a “collaborative” group. AR 091776.

         Like the proposed rule, the final rule relied heavily on the sample of previously

  implemented actions to justify the creation of broad new CEs. AR 093285–86, 093312–14,

  093321–22. The Forest Service maintained its justification that, based on questionnaires sent to

  local officials, past projects had generally not caused negative effects more substantial than




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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 14 of 38 Pageid#: 1279




  predicted. E.g., AR 093332. 3 The agency did not respond to Conservation Groups’ data and

  arguments showing that the CEs would authorize actions with individually and cumulatively

  significant harms. Instead, the Forest Service argued that its review of past actions, among other

  things, justified a conclusion that categorically excluded actions would not “normally” cause

  significant impacts under CEQ’s new definition. AR 093263.

         The Forest Service also explicitly relied in the final rule on the expertise of “[k]ey agency

  experts” who were listed as having provided input on the development of the CEs. AR 093271,

  093289, 091565, 093316, 091589, 093326, 091602. For example, in connection with the CE

  applicable to logging projects, the agency stated that these “subject matter experts provided input

  that informed changes to the CE in the final rule.” AR 093326.

         After thoroughly reviewing the rule and available supporting materials, Conservation

  Groups determined that the Forest Service had not considered or made changes in response to the

  information and analysis they had submitted. Conservation Groups filed suit in this Court on

  January 8, 2021.

         The Forest Service lodged the AR with the Court on July 1, 2021. ECF No. 42. While

  lengthy, the AR overwhelmingly consists of public comments submitted on the agency’s

  proposed rule. The AR confirms that the agency did not consider the important issues and

  supporting data submitted by Conservation Groups. Astonishingly, however, the AR also did not

  include the questionnaire responses, the input from “key agency experts,” or the input of CEQ,

  all of which the Forest Service relied on to finalize the rule. Further, the AR omitted many

  “deliberative” records without providing a log of withholdings, on the theory that such records


  3
   As discussed below, however, at least some of the past projects (including projects that the
  Forest Service characterized as not having unexpected effects) notably did have unexpectedly
  serious effects. See, e.g., AR 029931–33, 093313.

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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 15 of 38 Pageid#: 1280




  are categorically not part of an administrative record. Evans Decl., Exhibit 1 at 2. However, the

  AR does include a number of cherry-picked deliberative documents. E.g., AR 091480, 091481–

  501, 091529–35.

         Even more curiously, the AR includes records prepared after the Forest Service finalized

  the rule. After receiving Conservation Groups’ November 11, 2020 letter, and while the rule was

  queued for publication at the Office of the Federal Register, the agency drafted several additional

  explanatory documents. AR 091635–66. The documents attempt (inadequately) to show that the

  final Forest Service CEs would be consistent with either the old (1978) or new (2020) version of

  the CEQ regulations. This argument, which appears nowhere else in the AR, is an apparent effort

  to downplay the legal requirement for public conformity review under the 2020 regulations. The

  documents also attempt to show, through examples, that the addition of the “restoration”

  requirement in the final rule will limit the use of CE 25 to beneficial, noncommercial actions. AR

  091662. This illustration of the restoration requirement is found nowhere else in the record, and

  it is in fact inconsistent with CE 25’s plain text, which still allows for commercial logging. AR

  091780.

         C. Applicable Legal Standards

                 1. The Administrative Record must be broad and inclusive.

         This Court’s evaluation of agency decisions is based on the “whole record.” 5 U.S.C. §

  706; see also Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 419 (1971), abrogated

  on other grounds by Califano v. Sanders, 430 U.S. 99 (1977). “The ‘whole record’ includes

  everything that was before the agency pertaining to the merits of its decision.” B&B P’ship v.

  United States, 133 F.3d 913 (4th. Cir. 1997) (citing Portland Audubon Soc. v. Endangered

  Species Comm., 984 F.2d 1534, 1548 (9th Cir.1993)). The whole record “is not necessarily those

  documents that the agency has compiled and submitted as ‘the’ administrative record,” but
                                                   8
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 16 of 38 Pageid#: 1281




  includes “all documents and materials directly or indirectly considered by agency decision-

  makers and includes evidence contrary to the agency’s position.” Thompson v. U.S. Dep’t of

  Labor, 885 F.2d 551, 555 (9th Cir. 1989) (citations omitted); Bar MK Ranches v. Yuetter, 994

  F.2d 735, 739 (10th Cir. 1993) (“The complete administrative record consists of all documents

  and materials directly or indirectly considered by the agency.”); see also Tafas v. Dudas, 530 F.

  Supp. 2d 786, 795 (E.D. Va. 2008) (finding a complete record includes “all of the documents,

  memoranda, and other evidence that was considered directly or indirectly by the agency”).

  Ultimately, to satisfy the requirements of the APA, the Court “should have before it neither more

  nor less information than did the agency when it made its decisions.” Walter O. Boswell Mem’l

  Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984).

         The whole record must include all materials expressly relied on by the agency to support

  its decision. See Appalachian Power Co. v. EPA, 477 F.2d 495, 507 (4th Cir. 1973), overruled on

  other grounds by Union Electric Co. v. EPA, 427 U.S. 246 (1976); see also Oceana, Inc. v. Ross,

  290 F. Supp. 3d 73, 79 (D.D.C. 2018) (requiring an agency to include in the record documents

  “that were cited substantively, i.e., to justify a factual statement or assertion” in the agency’s

  decision document). But the record is not complete without “all materials that ‘might have

  influenced the agency’s decision,’ and not merely those on which the agency relied in its final

  decision.” Amfac Resorts, L.L.C. v. U.S. Dep’t of Interior, 143 F. Supp. 2d 7, 12 (D.D.C. 2001)

  (quoting Bethlehem Steel Corp. v. EPA, 638 F.2d 994, 1000 (7th Cir. 1980)). “[A]n agency may

  not skew the record by excluding unfavorable information. . . . Nor may an agency exclude

  information simply because it did not rely on it for its final decision.” Dist. Hosp. Partners v.

  Sebelius, 971 F. Supp. 2d 15, 20 (D.D.C. 2013) (citations omitted), aff’d in relevant part sub

  nom. Dist. Hosp. Partners v. Burwell, 786 F.3d 46 (D.C. Cir. 2015).



                                                    9
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 17 of 38 Pageid#: 1282




          This broad, inclusive approach is necessary because an incomplete administrative record

  is a “fictional account of the actual decisionmaking process.” Portland Audubon, 984 F.2d at

  1548 (internal quotation omitted). With an incomplete record, “the requirement that the agency

  decision be supported by ‘the record’ becomes almost meaningless.” Id. It destroys a court’s

  ability to determine whether the agency “failed to consider an important aspect of the problem

  [or] offered an explanation for its decision that runs counter to the evidence before the

  agency”—and thereby acted in an arbitrary and capricious fashion. Motor Vehicle Mfrs. Ass’n of

  U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

                  2. The deliberative process privilege is qualified.

          Though agencies are generally required to provide the “whole record,” they may

  withhold privileged documents, such as attorney–client communications. Federal agencies also

  enjoy a narrow, qualified privilege for some materials that reflect internal deliberative processes.

  “Two requirements are essential to the deliberative process privilege: the material must be

  predecisional and it must be deliberative.” In re Sealed Case, 121 F.3d 729, 737 (D.C. Cir.

  1997); see Hugler v. Bat Masonry Co., No. 6:15-CV-28, 2017 WL 722069, at *2 (W.D. Va. Feb.

  22, 2017) (“To successfully invoke the deliberative process privilege, the government must show

  that the documents are both (1) predecisional and (2) deliberative.”).

          This narrow privilege “clearly has finite limits.” U.S. EPA v. Mink, 410 U.S. 73, 87

  (1973), superseded on unrelated grounds by statute, Pub. L. No. 93-502, 88 Stat. 1561 (1974).

  First, it only applies to a limited set of materials that, if disclosed, would chill the frank

  discussion necessary for agency policymaking; it does not allow an agency to exclude whole

  categories of material from the record. See id. at 87–89; Carter v. U.S. Dep’t of Commerce, 307

  F.3d 1084, 1090–92 (9th Cir. 2002). Second, the “privilege does not shield documents that



                                                     10
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 18 of 38 Pageid#: 1283




  simply state or explain a decision the government has already made or protect material that is

  purely factual.” In re Sealed Case, 121 F.3d at 737; see also City of Virginia Beach v. U.S. Dep’t

  of Commerce, 995 F.2d 1247, 1253 (4th Cir. 1993). Purely factual material that is severable from

  otherwise deliberative documents must be produced in redacted copies. See Kowack v. U.S.

  Forest Serv., 766 F.3d 1130, 1135 (9th Cir. 2014) (rejecting a claim of privilege where the

  government did not try to “segregate” factual information).

         The Western District of Virginia has recognized that “[t]here are three procedural

  requirements for assertion of the [deliberative process] privilege: 1) the agency head must assert

  the privilege after personal consideration; 2) the agency head must state with particularity the

  information subject to the privilege; and 3) the agency must aver precise and certain reasons for

  preserving the confidentiality of the requested documents.” Hugler v. Bat Masonry Co., No.

  6:15-CV-28, 2017 WL 1207847, at *3 (W.D. Va. Mar. 31, 2017) (citation omitted). 4 This

  process is necessary, in part, to afford “a meaningful opportunity to contest, and the district court

  an adequate foundation to review, the soundness of the withholding.” Church of Scientology Int’l

  v. U.S. Dep’t of Justice, 30 F.3d 224, 231 (1st Cir. 1994) (evaluating an assertion of deliberative

  process privilege in the Freedom of Information Act context) (quotations omitted); see also

  Friends of the Clearwater v. Higgins, No. 2:20-CV-00243-BLW, 2021 WL 827015, at *8–9 (D.

  Idaho Mar. 4, 2021) (noting that “judicial review would be severely undermined if agencies

  could keep information from the court merely by classifying them as deliberative” (citation

  omitted)). Allowing agencies to withhold purportedly deliberative documents without disclosing

  those withholdings allows agencies to unilaterally—and wholly in secret—determine what



  4
    Though Hugler is not an APA case, this Court’s process still applies because the Forest Service
  is invoking the same civil law privilege.

                                                   11
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 19 of 38 Pageid#: 1284




  constitutes the administrative record, frustrating judicial review of agency actions under the

  APA. See Bar MK Ranches, 994 F.2d at 739 (“An agency may not unilaterally determine what

  constitutes the Administrative Record.”).

         This is not a hypothetical concern. For example, in recent litigation over the Secretary of

  Commerce’s decision to include a citizenship question on the 2020 census questionnaire, the

  district court granted a motion to complete the administrative record, which led “to the inclusion

  of more than 12,000 pages of internal deliberative materials as part of the administrative record.”

  Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2574 (2019). The district court’s role in

  ensuring the “whole record” was available for judicial review made a material difference in the

  case—the Supreme Court ultimately found that the agency’s action was “incongruent with what

  the record reveals about the agency’s priorities and decisionmaking process.” Id. at 2575. This is

  one of many examples of courts relying on internal documents when reviewing agency

  decisions, 5 including draft decisions, emails, memoranda, and meeting notes because of “a strong

  interest in fully knowing the basis and circumstances of an agency’s decision”; “[t]he process by

  which the decision has been reached is often mysterious enough without the agency’s


  5
    See, e.g., Defs. of Wildlife v U.S. Dep’t of Interior, 931 F.3d 339, 351–53 (4th Cir. 2019)
  (analyzing draft guidance and internal email correspondence in the course of APA review);
  Native Vill. of Point Hope v. Jewell, 740 F.3d 489, 499–505 (9th Cir. 2014) (relying on “internal
  [agency] emails” and “draft scenario[s]”); Earth Island Inst. v. Hogarth, 484 F.3d 1123, 1134–35
  (9th Cir. 2007) (citing agency “internal memoranda,” including “briefing packet” and “talking
  points”), aff’d as modified, 494 F.3d 757 (9th Cir. 2007); Kent Cty., Del. Levy Ct. v. EPA, 963
  F.2d 391, 396 (D.C. Cir. 1992) (ordering the agency to supplement the AR with documents that
  “relate to the position of the agency’s own experts on the question central to this case”); Inst. for
  Fisheries Res. v. Burwell, No. 16-CV-01574-VC, 2017 WL 89003, at *1 (N.D. Cal. Jan. 10,
  2017) (“It is obvious that in many cases internal comments, draft reports, inter– or intra-agency
  emails, revisions, memoranda, or meeting notes will inform an agency’s final decision.”); Ohio
  Valley Envtl. Coal. v. Whitman, No. CIV.A. 3:02-0059, 2003 WL 43377, at *5 (S.D. W. Va. Jan.
  6, 2003) (holding the administrative process “is precisely one of initial proposals, comments,
  compromise, revisions and final drafts . . . [which] are typically part of the administrative
  record”).

                                                   12
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 20 of 38 Pageid#: 1285




  maintaining unnecessary secrecy.” Nat’l Courier Ass’n v. Bd. of Governors of Fed. Rsrv. Sys.,

  516 F.2d 1229, 1241 (D.C. Cir. 1975).

         “[E]ven if [a] document is predecisional at the time it is prepared, it can lose that status if

  it is adopted, formally or informally, as the agency position on an issue or is used by the agency

  in its dealings with the public.” S. Envtl. L. Ctr. v. Mulvaney, No. 3:18CV00037, 2019 WL

  4674497, at *8 (W.D. Va. Sept. 25, 2019) (citing Coastal States Gas Corp. v. Dep’t of Energy,

  617 F.2d 854, 866 (D.C. Cir. 1980)); see also Nat’l Council of La Raza v. Dep’t of Justice, 411

  F.3d 350, 359 (2d Cir. 2005) (finding documents may lose deliberative process protection based

  on “evidence that an agency has actually adopted or incorporated by reference the document at

  issue”). Likewise, when an agency holds out “a protected document as authoritative, it cannot

  then shield the authority upon which it relies from disclosure.” Brennan Ctr. for Justice at N.Y.

  Univ. Sch. of L. v. U.S. Dep’t of Justice, 697 F.3d 184, 205 (2d Cir. 2012). Nor may an agency

  shield “the reasons which . . . supply the basis for an agency policy actually adopted” because

  “[t]hese reasons, if expressed within the agency, constitute the ‘working law’ of the agency.”

  N.L.R.B. v. Sears, Roebuck & Co., 421 U.S. 132, 152–53 (1975) (finding certain memoranda

  were not privileged because they represented the final opinion or interpretation adopted by the

  agency).

         Furthermore, the deliberative process privilege may be overcome by a showing that the

  opposing party’s interest in the information outweighs the agency’s interest in confidentiality.

  E.g., In re Sealed Case, 121 F.3d at 737; Dairyland Power Co-op. v. United States, 77 Fed. Cl.

  330, 338 (2007); FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1161 (9th Cir. 1984) (providing

  factors to consider when evaluating whether the “need for the [deliberative process] materials

  and the need for accurate fact-finding override the government’s interest in non-disclosure”).



                                                   13
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 21 of 38 Pageid#: 1286




  Thus, the deliberative process privilege is “(1) qualified, (2) not absolute, and (3) discretionary.”

  Murray Energy Corp. v. McCarthy, No. 5:14-CV-39, 2015 WL 7017009, at *2 (N.D. W. Va.

  Nov. 12, 2015) (internal citations omitted). Determining whether the privilege applies therefore

  requires a document-specific determination.

         Courts have taken divergent approaches on when withholding deliberative documents

  requires the preparation of a privilege log during APA review. Many courts require agencies to

  submit privilege logs to assert the privilege for any documents withheld from the AR. 6 Others

  require agencies to prepare privilege logs after the party seeking review demonstrates that the

  agency failed to include pertinent materials in the AR. 7

         The Fourth Circuit recently followed the latter approach. After determining that

  documents relied on by the agency were missing from the record, the court granted a motion to

  complete the administrative record and required the agency to “submit a privilege log in the



  6
    See, e.g., Exxon Mobil Corp. v. Mnuchin, No. 3:17-CV-1930-B, 2018 WL 4103724, at *3 (N.D.
  Tex. Aug. 29, 2018) (ordering supplementation where the “AR does not account for the
  privileged materials” withheld); Pitman v. U.S. Citizenship & Immigration Servs., No. 2:17-CV-
  00166-CW-EJF, 2018 WL 3232355, at *3 (D. Utah July 2, 2018) (requiring a privilege log
  identifying documents withheld from the AR); Indigenous Envtl. Network v. U.S. Dep’t of State,
  No. CV-17-29-GF-BMM, 2018 WL 1796217, at *3 (D. Mont. Apr. 16, 2018) (same); Batalla
  Vidal v. Duke, No. 16CV4756NGGJO, 2017 WL 4737280, at *5 (E.D.N.Y. Oct. 19, 2017)
  (same); Ctr. for Food Safety v. Vilsack, No. 15-cv-01590, 2017 WL 1709318, at *5 (N.D. Cal.
  May 3, 2017) (same); Ctr. for Native Ecosystems v. Salazar, 711 F. Supp. 2d 1267, 1276 n.10
  (D. Colo. 2010) (same); Nw. Envtl. Advocates v. EPA, No. 05-1876-HA, 2008 WL 111054, at *4
  (D. Or. Jan. 7, 2008) (same); Greenpeace v. Nat’l Marine Fisheries Serv., No. C98-492Z, 2000
  WL 343906, at *1–2 (W.D. Wash. Feb. 24, 2000) (same); Miami Nation of Indians of Ind. v.
  Babbitt, 979 F. Supp. 771, 778 (N.D. Ind. 1996) (finding that submitting a record without
  making “objection with respect to specific documents . . . could be construed as a waiver” of
  claim to privilege).
  7
    See, e.g., Dist. Hosp. Partners, 971 F. Supp. 2d at 33 (deferring to an agency’s record
  compilation and not requiring a privilege log where plaintiffs did not rebut presumption of
  regularity); W&T Offshore, Inc. v. Jewell, No. 2:14-CV-02449, 2016 WL 8260549, at *3 (W.D.
  La. Feb. 23, 2016) (ordering a privilege log after the plaintiff “met its burden of showing that the
  administrative record is incomplete”).

                                                   14
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 22 of 38 Pageid#: 1287




  event the Government withholds any documents under the guise of the deliberative process

  privilege (or any other privilege).” Attached as Exhibit 1. The District of South Carolina

  followed suit, requiring a federal agency to prepare “a privilege log listing all documents

  withheld based on a claim of the deliberative process privilege.” S.C. Coastal Conservation

  League, 431 F. Supp. 3d 719, 725 (D.S.C. 2020) (noting that “without a privilege log, the Court

  would have no way to evaluate assertions of privilege and whether documents were improperly

  excluded from the administrative record”).

         Other courts have required privilege logs without crafting a general rule on when one

  must be prepared. The Ninth Circuit has acknowledged that “many district courts within this

  circuit have required a privilege log and in camera analysis of assertedly deliberative materials in

  APA cases.” In re United States, 875 F.3d 1200, 1210 (9th Cir.), rev’d on other grounds, 138 S.

  Ct. 443 (2017). The Second Circuit also recently upheld a district court’s order compelling a

  federal agency to produce a privilege log. Attached as Exhibit 2. The court paraphrased the

  Government as arguing that “in evaluating agency action, a court may only consider materials

  that the Government unilaterally decides to present to the court, rather than the record upon

  which the agency made its decision,” and rejected that argument because “[a]llowing the

  Government to determine which portions of the administrative record the reviewing court may

  consider would impede the court from conducting the ‘thorough, probing, in-depth review’ of the

  agency action with which it is tasked.” Id. (citation omitted). The court also rejected the

  Government’s argument that it need not log documents withheld on deliberative process grounds

  because “without a privilege log, the District Court would be unable to evaluate the

  Government’s assertions of privilege.” Id.




                                                   15
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 23 of 38 Pageid#: 1288




         Conversely, the D.C. and Sixth Circuits have found that deliberative and predecisional

  documents are not part of the administrative record and do not need to be logged. See Oceana,

  920 F.3d at 865; In re U.S. Dep’t of Def. & U.S. EPA Final Rule, No. 15-3751, 2016 WL

  5845712, at *2 (6th Cir. Oct. 4, 2016). Some district courts outside of those circuits have also

  reached that conclusion. See, e.g., Outdoor Amusement Bus. Ass’n, Inc. v. Dep’t of Homeland

  Sec., No. CV ELH-16-1015, 2017 WL 3189446, at *21 (D. Md. July 27, 2017).

          This Court has not specifically addressed the question, but has recognized that there are

  instances where “a privilege log might be necessary” to assess agency assertions of deliberative

  process privilege. Hugler, 2017 WL 722069, at *4 n.8 (citing U.S. Dep’t of the Treasury v.

  Pension Benefit Guar. Corp., No. 12-MC-100, 2016 WL 7383723, at *3 (D.D.C. Dec. 20, 2016)

  (“A common practice of agencies seeking to invoke the deliberative process privilege is to

  establish the privilege through a combination of privilege logs, which identify specific

  documents, and declarations from agency officials explaining what the documents are and how

  they relate to the agency decision.”)).

                 3. The Court has the authority to compel completion of the record.

         When the administrative record submitted by an agency omits documents that were

  before the agency at the time of its decision, a court may order the agency to refile a complete

  record. See, e.g., Portland Audubon, 984 F.2d at 1548; Dopico v. Goldschmidt, 687 F.2d 644,

  654 (2d Cir. 1982) (granting discovery as to the completeness of the administrative record).

  While courts typically afford a presumption of regularity to agency records, see, e.g., Sanitary

  Bd. of Charleston v. Wheeler, 918 F.3d 324, 334–35 (4th Cir. 2019), this presumption is

  overcome where movants present “clear evidence . . . demonstrated by a ‘strong,’ ‘substantial,’




                                                  16
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 24 of 38 Pageid#: 1289




  or ‘prima facie’ showing that the record is incomplete,” Tafas, 530 F. Supp. 2d at 795 (citation

  omitted).

                 4. Post hoc, post-decisional documents are not part of the record.

         For the same reason that the “whole record” must include predecisional nonprivileged

  records that were before the agency, it must exclude post-decisional records. The APA limits a

  court’s review of agency action to the administrative record before the agency at the time of its

  decision. 5 U.S.C. § 706; Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985).

  Documents postdating the decision are post hoc rationalizations, which cannot justify agency

  decisions. See Kisor v. Wilkie, 139 S. Ct. 2400, 2417 (2019); Envtl. Def. Fund, Inc. v. Costle, 657

  F.2d 275, 284 (D.C. Cir. 1981) (excluding documents that were not before the agency at the time

  of its decision from the record).

         Courts look to two fact-specific characteristics to determine if a document is a post hoc

  rationalization: the timing of the document and its substance. First, post hoc documents postdate,

  and are not contemporaneously provided with, the agency decision. Securities & Exchange

  Comm’n v. Chenery Corp., 332 U.S. 194, 196 (1947) (holding that a court’s inquiry is limited to

  materials created contemporaneously with an agency’s decision-making process); Luminant

  Generation Co. v. EPA, 675 F.3d 917, 925 (5th Cir. 2012) (disregarding post hoc rationalizations

  and evaluating EPA’s action solely on the agency’s stated rationale at the time of decision). The

  agency reaches its final decision when the responsible decisionmaker has concluded his or her

  decision-making process. For example, final action for NEPA purposes occurs when a Record of

  Decision is signed, WEG v. Salazar, 880 F. Supp. 2d 77, 90 (D.D.C. 2012), not when it is

  published in the Federal Register, cf. 40 C.F.R. § 1506.6(b)(2).




                                                  17
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 25 of 38 Pageid#: 1290




           Second, post hoc rationalizations generally reflect new positions taken by agencies not

  previously included in the contemporaneous decision-making documents, such as a stance taken

  to defend the decision from expected legal action. Ohio Valley Envtl. Coal. v. Hurst, 604 F.

  Supp. 2d 860, 886 (S.D. W. Va. 2009) (refusing to accept post hoc rationalizations when the

  same stance was not previously taken in final agency decision documents).

     II.      Argument

           A. The Forest Service excluded documents relied on as the basis of its decision,
              confirming the AR is incomplete.

           The Forest Service failed to provide a complete AR because it did not include

  questionnaire responses that it cited and relied upon in support of the final rule. Courts have

  recognized this precise circumstance as sufficient to overcome the presumption of regularity in

  an administrative record. See Goffney v. Becerra, 995 F.3d 737, 748 (9th Cir. 2021) (noting that

  the presumption of regularity is overcome when “the agency has relied on documents not in the

  record”). This oversight indicates at least a less-than-thorough record compilation.

           As noted above, the Forest Service relied heavily on a sample of “previously

  implemented” decisions to purportedly show that projects of a certain scale routinely are

  completed without significant adverse impacts. As the Forest Service recognized, however, an

  agency cannot substantiate a new CE merely by relying on predictive findings, but must also

  “validate[] the environmental effects (or lack thereof) predicted in the [Environmental

  Assessment].” AR 000811.

           In other words, to rely on “previously implemented” actions, the agency must show that

  the actions, as implemented, did not have significant impacts. As described above, the Forest

  Service took a sample of its sample of qualifying projects and solicited feedback on that smaller




                                                   18
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 26 of 38 Pageid#: 1291




  subset of projects. The questionnaire asked, among other things, whether the project had in fact

  been implemented and whether it had caused impacts greater than predicted:

         To obtain information related to implementation and monitoring of the projects . .
         . USFS personnel on national forests across the U.S., who were familiar with the
         projects, responded to a questionnaire intended to verify whether observed effects
         of these implemented projects were consistent with the NEPA analysis.

  AR 091612.

         These survey responses were at the heart of the Forest Service’s conclusion that the

  activities covered by the CEs will not have significant environmental impacts. In appendices to

  its Supporting Statement, the Forest Service listed the projects for which it claims it received

  questionnaire (or “survey”) responses. See, e.g., AR 091559 (Table 2, listing Projects Relevant to

  CE(d)(12)).

         Materials actually discussed or cited by the agency are, perhaps, the most obvious to

  include in the AR. See, e.g., Oceana, 290 F. Supp. 3d at 79. The AR includes the questionnaire




                                                   19
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 27 of 38 Pageid#: 1292




  itself, AR 029849–50, as well as some of the survey responses identified in the Supporting

  Statement appendices. But most of these questionnaire responses are missing:

      CE                  Number of Projects with Survey        Number of Corresponding
                          Responses Listed in Supporting        Questionnaire Responses
                          Statement Appendices                  Actually Provided in AR
      (d)(12)             2                                     0
      (e)(3)              9                                     0
      (e)(20)             9                                     3
      (e)(21)             12                                    3
      (e)(22)             17                                    4
      (e)(23) and (24)    14                                    3
      (e)(25)             19                                    28

            The AR further includes a small number of project or monitoring documents, labeled as

  questionnaire responses in the index, which were likely attached to questionnaires, 9 but it does

  not include the corresponding questionnaire response for the large majority of these projects.

            When asked to provide the missing questionnaire responses, counsel for the Forest

  Service responded that they could be found at “[AR 0]30173 and throughout the record with

  headings under the description column as ‘Supporting documents to questionnaire by Region.’”

  Evans Decl., Exhibit 1 at 2. As reported above, however, most of the questionnaires are in fact

  missing, even after screening the AR using these and other search terms. The document

  identified by counsel, AR 030173, is a spreadsheet containing some information pulled from




  8
   One of the two CE 25 project responses counted here was not the actual questionnaire response,
  but rather an email response stating that the project in question was only partially implemented
  as of January 2020. AR 090725.
  9
   Question 5 of the questionnaire requested that respondents upload or attach any documentation
  of effects. AR 029849. This batch of documents varies broadly. Some are merely pictures or
  other documents that lack any identifying information to link to a project, e.g., AR 091819, some
  are EAs/FONSIs that do not relate to project implementation, and some are documentation of
  monitoring for projects.

                                                   20
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 28 of 38 Pageid#: 1293




  questionnaire responses, but only for projects in the special use category, 10 and it does not

  provide the context that the full responses do. For example, a project reported as partially

  implemented would appear in the spreadsheet without qualification as a “y” (presumably

  meaning “yes”) in the “implemented?” column. But partial implementation is not full

  implementation, and which portion of the project has been implemented is relevant to the

  question of whether the Forest Service appropriately relied on that project in substantiating its

  decision that similar projects would not have significant effects. See discussion of AR 029931–

  33, infra. That is to say, context matters for these projects, and the responses themselves are

  necessary to accurately assess their relevance and whether they support the agency’s decision.

         Conservation Groups and this Court must be able to view all questionnaires relied on in

  developing the rule to assess whether they support the Forest Service’s conclusions. These

  questionnaires were not only before the agency when it made its decision—they were expressly

  relied on by the Forest Service. Indeed, to support the agency’s conclusion, these survey results

  were (very charitably) characterized by the Forest Service. For example, for CE 25, which allows

  commercial logging projects, the Forest Service reported:

         Twenty-three . . . projects were subject to additional review through the
         questionnaire. . . . Two forests stated their projects had not been implemented and
         two forests did not respond. For the 19 projects identified in Appendix C1 that
         provided survey responses, respondents indicated that the effects were not more
         intense or substantial than predicted in the EA, DN, and FONSI.




  10
    It is not at all clear that the spreadsheet corresponds to questionnaire responses. The
  spreadsheet lists 8 of the 9 projects with survey responses purportedly used to substantiate CE 3
  but none of those responses are provided in the AR. The spreadsheet also lists one project that
  has a survey response used to substantiate CE 22. The remaining responses summarized in the
  spreadsheet are either not listed in the Appendices at all or are listed as “other projects” for
  which the survey response was not expressly relied on to substantiate the CE.

                                                   21
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 29 of 38 Pageid#: 1294




  AR 091612–13. To be clear, the agency claimed, based on the responses received for the 19

  projects marked as having surveys in Appendix C1, AR 091592–99, that the projects had in fact

  been implemented and that their effects were not more significant than predicted in the project

  decision documents.

            For the only two of those 19 projects for which some kind of response was provided in

  the AR, however, the actual responses show that the Forest Service did not tally its results

  accurately. One project was not fully implemented, and the respondent did not provide

  information of actual versus predicted effects based on monitoring. See AR 090725 (email

  discussing the Mower Tract Project). The other project was only partially implemented, and it

  did show more significant impacts than predicted. AR 029931–33. Based on the available

  information, furthermore, it does not appear that the relevant portion of the project (the actual

  timber harvest) had been implemented when the questionnaire was returned. Id. Neither of these

  survey responses, therefore, establish what the Forest Service claimed—that projects were

  completed, monitored, and showed actual effects consistent with predicted effects.

            This example illustrates why it is necessary that Conservation Groups and this Court have

  access to the “whole record” on which the decision was made, in accordance with the APA, not

  just parts of it. Further, the omission of these documents from the AR as originally filed confirms

  that the Forest Service failed to conduct an effective search. Counsel has already had to

  supplement the record with a key document that was left out, ECF No. 44-2, and is likely to have

  to provide further supplementation. 11 See Nat. Res. Def. Council, Inc. v. Train, 519 F.2d 287,

  291–92 (D.C. Cir. 1975) (ordering completion of record where plaintiffs “made a substantial

  showing . . . that the Administrator had not filed the entire administrative record with the court”).


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       See n.2, supra.

                                                   22
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 30 of 38 Pageid#: 1295




  Plaintiffs request that the Court order the Forest Service to complete the AR and direct the

  agency to include all information relied on in the Supporting Statement, including the missing

  questionnaires.

         B. Documentation of input from key agency experts and CEQ must be included in the
            record.

         As noted above, the Forest Service expressly relied on the participation of the “key

  agency experts” listed in various appendices, claiming that changes in the final rule were

  attributable to their input. AR 093271, 093289, 091565, 093316, 091589, 093326, 091602. The

  AR does not include any record of such input or how it influenced the agency’s decision. When

  asked about these records, counsel for the Forest Service pointed to a summary of input from

  four other agency staff, Evans Decl., Exhibit 1 at 2, in which those four staff persons addressed a

  limited set of “assigned comments” related to narrow issues. AR 090986–1010. This document

  appears to be the “group of scientists from the Rocky Mountain Research Station” convened

  after the public comment period “to analyze the body of literature submitted in public

  comments” specific to CE 25. AR 091604. When asked again about the rest of the supposedly

  substantial input of the experts on which the Forest Service has expressly relied, counsel

  explained that these “additional documents are not included because they are not part of the

  administrative record.” Evans Decl., Exhibit 1 at 4.

         The input of the “key agency experts” must be provided because it is expressly relied on

  by the Forest Service. Appalachian Power Co., 477 F.2d at 507 (requiring record to include

  expert opinions on which EPA relied at the time of the decision). Again, the Forest Service

  stated, among other things, that these experts “provided input that informed changes to the CE in

  the final rule.” AR 093326. Furthermore, if the input of the specialists listed as “key agency

  experts” in the appendices is deliberative, certainly the input of the other four agency staff is just

                                                    23
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 31 of 38 Pageid#: 1296




  as deliberative. The Forest Service cannot be allowed to cherry-pick which scientists’ input it

  will let the Court see. The AR must include all the evidence before the agency—both the

  information that the agency believes substantiates its choices and the evidence that cuts against

  them. Dist. Hosp. Partners, 971 F. Supp. 2d at 20. The failure to include these materials also

  underscores the importance of requiring a privilege log in this case, as discussed below. The

  Forest Service may not unilaterally determine which deliberative records it wants the Court to

  see, and which ones it does not. See Bar MK Ranches, 994 F.2d at 739 (“An agency may not

  unilaterally determine what constitutes the Administrative Record.”).

         Without inclusion of these key agency experts’ input, the Court can give no weight to the

  agency’s reliance on such input. See Heartwood, Inc. v. U.S. Forest Serv., 73 F. Supp. 2d 962,

  975 (S.D. Ill. 1999) (finding a CE was arbitrary and capricious because the Forest Service relied

  on a claim of “expertise and prior experience with timber sales having ‘these characteristics’”

  without more evidence). Substantiation of a CE requires something more than merely stating that

  smart people were involved in an undisclosed manner.

         Similarly, the Forest Service relied on input from CEQ to determine the scope and the

  contents of the final rule. AR 091550, 091769, 093267. Yet no records of CEQ’s input or how it

  was used to develop the final rule appear in the AR. When asked about this omission, opposing

  counsel indicated his position that these records were excluded because they are deliberative.

  Evans Decl., Exhibit 1 at 2. Like the key agency experts’ input, however, the input from CEQ

  was in fact relied on by the Forest Service—which should not be surprising. This rulemaking

  was CEQ’s first opportunity to apply its overhauled regulations to another agency’s procedures.

  The application of those rules through consultation between the agencies constitutes the

  development of “working law,” which cannot be hidden away as deliberative. NLRB, 421 U.S. at



                                                  24
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 32 of 38 Pageid#: 1297




  152–53. The public (and the Court) is “vitally concerned” with understanding how the new CEQ

  regulations actually influenced the development of the Forest Service’s procedures, especially

  where Conservation Groups have claimed that the application of those regulations violated the

  NEPA statute. See id.

         C. The agency must produce a privilege log.

         To prevent the Forest Service from unilaterally curating its administrative record, the

  Court must require the agency to prepare a privilege log of documents withheld under the

  deliberative process and other privileges. Without such a log, the Court has “no way to evaluate

  assertions of privilege and whether documents were improperly excluded from the administrative

  record.” S.C. Coastal Conservation League, 431 F. Supp. 3d at 725.

         Conservation Groups asked the Forest Service to include certain omitted materials in a

  revised AR or to log the withheld materials in a privilege log. Evans Decl., Exhibit 1 at 2. The

  Forest Service refused, stating: “We are not including deliberative documents in the

  administrative record and are not providing a privilege log.” Evans Decl., Exhibit 1 at 2. 12 The

  agency then cited two cases it claimed supported its position: Oceana, Inc. v. Ross, 920 F.3d 855,

  865 (D.C. Cir. 2019), and U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 141 S. Ct. 777, 785–86

  (2021). Evans Decl., Exhibit 1 at 2.

         Yet the Forest Service did include some deliberative documents in the AR—it just

  cherry-picked which ones. For example, the agency included a “briefing paper document[ing] the


  12
    This alone is sufficient to overcome any presumption of regularity. See Ctr. for Biological
  Diversity v. Bernhardt, No. CV 19-109-M-DLC, 2020 WL 1130365, at *3 (D. Mont. Mar. 9,
  2020) (overcoming the presumption of completeness “is not a tall order where, as here, Federal
  Defendants . . . [acknowledge] that they have failed to include deliberative documents.”); Ctr. for
  Food Safety, 2017 WL 1709318, at *3 (finding that “the presumption of completeness is
  rebutted” by Defendants’ concession that deliberative and other allegedly privileged documents
  were excluded from the record).

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Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 33 of 38 Pageid#: 1298




  Agency’s consideration of [a report submitted by the public] in relation to its ongoing NEPA

  rulemaking.” AR 091481–501. The document includes internal agency notes and is labeled in

  bold, red letters: “DELIBERATIVE, PRE-DECISIONAL, FOR INTERNAL COORDINATION

  ONLY.” AR 091481. The Forest Service also included an internal memorandum related to

  “receiv[ing] a determination from CEQ that the final rule is in conformity with NEPA and

  CEQ’s regulations.” AR 091480 (attached as Exhibit 3). The document is also labeled in bold,

  red letters: “DELIBERATIVE, PRE-DECISIONAL, FOR INTERNAL COORDINATION

  ONLY.” Id. Yet another document clearly labeled as a deliberative and pre-decisional draft is

  found at AR 091529–35.

         Evidently the agency gathered deliberative materials in its search and unilaterally elected

  to include some documents in the AR while excluding others. If agencies were allowed to prune

  the record in this way—by selectively relaxing the deliberative process privilege when it suits

  them and stonewalling any attempt to investigate other withheld documents—it “would invite all

  manner of mischief.” Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Sec., No. C 17-

  05211 WHA, 2018 WL 1210551, at *6 (N.D. Cal. Mar. 8, 2018) (“As a practical matter, if

  agencies were permitted to withhold materials from the administrative record on the basis of

  privilege, but were not required to submit a privilege log, their withholding based on privilege

  would never surface and would wholly evade review.”). Such cherry-picking results in a skewed

  record that does not reflect the “whole record” as required by the APA. 5 U.S.C. § 706.

         Additionally, the cases cited by the Forest Service do not support its position. To the

  contrary, U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., explains why a privilege log is

  necessary in this instance. 141 S. Ct. 777, 783 (2021). In Sierra Club, the Supreme Court

  evaluated whether a specific draft Fish and Wildlife Service document qualified for the



                                                  26
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 34 of 38 Pageid#: 1299




  deliberative process privilege and could be withheld from production in response to a Freedom

  of Information Act request. Id. at 785. The court’s analysis turned on application of the privilege

  to the specific document. Id. at 786–88. That is precisely the opportunity the Forest Service is

  denying this Court by refusing to tell the Court or Conservation Groups what documents it is

  withholding under the deliberative process privilege. Sierra Club stands for the proposition that

  the courts are the ultimate arbiter of what qualifies for deliberative process withholdings—not

  agencies—which necessitates production of a privilege log when agencies withhold documents

  under the deliberative process privilege.

         Oceana, Inc. v. Ross is a nonbinding, out-of-circuit decision. While the D.C. Circuit

  Court of Appeals upheld the district court’s denial of a motion to compel under the abuse of

  discretion standard, the proceedings before the district court notably included the filing of “an

  administrative record . . . [including] an index of withheld privileged documents, classifying the

  documents as withheld because of Attorney-Client Privilege, Attorney Work Product, [or]

  Deliberative Process Privilege.” 920 F.3d at 860. Moreover, the court noted multiple instances

  where the district court would be justified in requiring further explanation of the administrative

  record, including where “redactions may have obscured ‘factual information not otherwise in the

  record,’ . . . or where the agency improperly supplemented the record with ‘post hoc

  rationalizations’ supporting its actions . . . or where a ‘substantial showing’ was made that the

  record was incomplete.” Id. at 865 (citations omitted). Conservation Groups clear that threshold.

         Provision of a privilege log is also necessary because the deliberative process privilege

  “is a qualified one.” Tafas, 530 F. Supp. 2d at 800. Conservation Groups have no opportunity to

  overcome the privilege if they are not informed as to what is being withheld. The Forest




                                                   27
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 35 of 38 Pageid#: 1300




  Service’s refusal to disclose what documents it is withholding converts the “qualified” privilege

  into a categorical one that cannot be questioned or reviewed by any group or court.

          Litigation under the Freedom of Information Act (“FOIA”) provides a useful parallel that

  underscores the need for a privilege log here. Like APA cases, agencies may sometimes withhold

  responsive documents under FOIA when those documents qualify for the deliberative process

  privilege. But agencies are not given unilateral authority to make those determinations. As this

  Court has recognized, withholding documents under the deliberative process privilege in the

  FOIA context requires provision of a “‘Vaughn index’ [which] identifies each document

  withheld, the statutory exemption claimed, and a particularized explanation of how disclosure of

  the particular document would damage the interest protected by the claimed exemption.” S.

  Envtl. L. Ctr. v. Council on Envtl. Quality, 507 F. Supp. 3d 694, 698 n.1 (W.D. Va. 2020)

  (citation omitted). There is no reason that an agency should have to justify its deliberative

  process withholdings via a Vaughn index in the FOIA context but be allowed to withhold those

  same documents from the administrative record in frequently higher-stakes APA litigation

  without telling anyone.

          To be sure, some deliberative documents may have been properly withheld from the

  agency’s AR here. But if that privilege applies, “the proper strategy isn’t pretending the

  protected material wasn’t considered, but withholding or redacting the protected material and

  then logging the privilege” so that it may be challenged by Plaintiffs and assessed by the Court.

  Inst. for Fisheries Res, 2017 WL 89003, at *1. To ensure judicial review occurs on the basis of

  the “whole record,” Conservation Groups must have the right to challenge the agency’s

  invocation of the deliberative process privilege, and thus request that the Forest Service be

  ordered to file a privilege log.



                                                   28
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 36 of 38 Pageid#: 1301




            D. Post hoc, post-decisional documents should be struck from the AR

            As explained above, supra pp 5–6, the Forest Service prepared several documents in an

  apparent response to a letter sent by Conservation Groups’ counsel after the rule was finalized,

  which indicated Conservation Groups’ intent potentially to challenge the Forest Service rule on

  the basis that it was not provided to the public for “conformity” review pursuant to the

  requirements of 40 C.F.R. § 1507.3(b)(2). AR 09551, 091552–54, 09555–58, 091635–66.

            These documents should be struck from the AR as post hoc documents attempting to

  rationalize agency decisions already made. First, the documents could not have been considered

  “directly or indirectly” by the decisionmaker because they postdate the decision. See Thompson,

  885 F.2d at 555. Second, the documents contain novel rationales. They attempt to show that the

  final rule would be consistent with either the 2020 revised regulations or the original 1978

  regulations. This rationale therefore attempts to show that conformity review by the public would

  not have been necessary—a defense prepared after the decision and in anticipation of litigation.

  Third, inclusion of the documents is prejudicial to Conservation Groups because the Forest

  Service failed to consider the issue they raised while the decision was still open, at which time it

  might have changed the agency’s decision. Had the agency offered the rule for public conformity

  review, Conservation Groups could have raised serious concerns with the revised rule’s

  conformity with the CEQ rule and its implications for the CEQ rule’s consistency with the

  NEPA statute. Instead, the agency now attempts to backfill its reasoning. These post hoc

  rationalizations attempting to gird a decision already made should be struck from the AR.

     III.      Conclusion

            For the foregoing reasons, Conservation Groups ask the Court to order Defendant Forest

  Service to complete the AR as follows: (1) include all records of questionnaires, surveys, and

  responses related to past projects; (2) include all records of input from agency scientists or
                                                   29
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 37 of 38 Pageid#: 1302




  experts; (3) include all records of input from CEQ applying CEQ’s regulations to the Forest

  Service rulemaking and records of how that input shaped the final rule; (4) file with the Court a

  log of records that were considered, directly or indirectly, by the Forest Service but excluded

  from the record, describing the basis for the asserted privilege with respect to each document;

  and (5) strike post-decisional documents (AR 091635–66) from the record.

         Respectfully submitted this the 22nd day of July, 2021


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                                                  30
Case 2:21-cv-00003-JPJ-PMS Document 48 Filed 07/22/21 Page 38 of 38 Pageid#: 1303




                                  CERTIFCATE OF SERVICE

         I certify that on July 22, 2021, I electronically filed the foregoing BRIEF IN SUPPORT

  OF MOTION TO COMPEL COMPLETION OF THE ADMINISTRATIVE RECORD AND

  STRIKE NONRECORD MATERIAL with the Court using the CM/ECF system, which will

  notify all counsel of record.


                                                     /s/ Sam Evans
                                                     Sam Evans
                                                     Southern Environmental Law Center




                                                31
